    Case 8-19-73137-reg   Doc 18   Filed 04/30/19    Entered 04/30/19 15:29:31




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:
                                                    Case No. 19-42317-nhl
Atlantic 111st LLC
                                                    Chapter 11

                     Debtor.
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                                   O R D E R


          Whereas, the above-captioned case having been
initiated by the filing of a petition under Chapter 11 of Title
11 of the United States Code on April 18, 2019 and randomly
assigned to Bankruptcy Judge Nancy Hershey Lord, and

          Whereas, it appearing that this case is related to
case numbers 16-75721-reg and 09-76782-reg, which cases having
been assigned to Bankruptcy Judge Robert E. Grossman, and

          Whereas, in the interest of justice and proper case
administration this case should be reassigned to Judge Robert E.
Grossman, it is

          ORDERED, that this case be and it is hereby reassigned
to Bankruptcy Judge Robert E. Grossman, and it is further

          ORDERED, that the Clerk of Court take all necessary
steps to effectuate the reassignment of this case.


Dated: Brooklyn, New York
       April 30, 2019


                                            s/Carla E. Craig
                                           Carla E. Craig
                                           Chief U.S. Bankruptcy Judge
